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                                  UNITED STATES DISTRICT COURT
                                     DISTRICT OF DELAWARE

 DAVID KAUFMANN,                                      )   Case No.
                                                      )
                         Plaintiff,                   )
                                                      )
                                                      )   COMPLAINT FOR VIOLATIONS
                  vs.                                 )   OF THE FEDERAL SECURITIES
                                                      )   LAWS
 MANDIANT, INC., KIMBERLY ALEXY,                      )
 SARA ANDREWS, RONALD E. F. CODD,                     )   JURY TRIAL DEMANDED
 ARTHUR W. COVIELLO, JR., KEVIN                       )
                                                      )
 MANDIA, ADRIAN MCDERMOTT,                            )
 VIRAL PATEL, ENRIQUE SALEM, and                      )
 ROBERT SWITZ,                                        )
                                                      )
                        Defendants.                   )
                                                      )

       Plaintiff David Kaufmann (“Plaintiff”), upon information and belief, including an

examination and inquiry conducted by and through his counsel, except as to those allegations

pertaining to Plaintiff, which are alleged upon personal belief, alleges the following for his Complaint:

                                      NATURE OF THE ACTION

       1.      Plaintiff brings this action against Mandiant, Inc. (“Mandiant” or the “Company”) and

its corporate directors for violating Sections 14(a) and 20(a) of the Securities Exchange Act of 1934

(the “Exchange Act”), 15 U.S.C. §§ 78n(a)(4), and 78t(a). By the action, Plaintiff seeks to enjoin the

vote on a proposed transaction pursuant to which Google LLC (“Google”) will acquire the Company

(the “Proposed Transaction”).

       2.      On March 7, 2022, the Company entered into an Agreement and Plan of Merger to be

acquired Google through its subsidiary Dupin Inc. (the “Merger Agreement”).                The Merger

Agreement provides that Company stockholders will receive 23.00 in cash for each share of Mandiant

stock they own.

       3.      On April 28, 2022, Mandiant filed a Definitive Proxy Statement on Schedule 14A (the

“Proxy Statement”) with the SEC.         The Proxy Statement, which recommends that Mandiant
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stockholders vote in favor of the Proposed Transaction, omits or misrepresents material information

necessary and essential to that decision.       Defendants authorized the issuance of the false and

misleading Proxy Statement in violation of Sections 14(a) and 20(a) of the Exchange Act.

        4.       It is imperative that the material information omitted from the Proxy Statement is

disclosed to the Company’s stockholders prior to the forthcoming stockholder vote so that they can

properly exercise their corporate suffrage rights.

        5.       For these reasons and as set forth in detail herein, Plaintiff seeks to enjoin Defendants

from taking any steps to consummate the Proposed Transaction unless and until the material

information discussed below is disclosed to the Company’s stockholders or, in the event the Proposed

Transaction is consummated, to recover damages resulting from the defendants’ violations of the

Exchange Act.

                                    JURISDICTION AND VENUE

        6.       This Court has jurisdiction over the claims asserted herein for violations of Sections

14(d), 14(e) and 20(a) of the Exchange Act and SEC Rule 14d-9 promulgated thereunder pursuant to

Section 27 of the Exchange Act, 15 U.S.C. § 78aa, and 28 U.S.C. § 1331 (federal question

jurisdiction).

        7.       The Court has jurisdiction over defendants because each defendant is either a

corporation that conducts business in and maintains operations in this District, or is an individual who

has sufficient minimum contacts with this District so as to render the exercise of jurisdiction by this

Court permissible under traditional notions of fair play and substantial justice.

        8.       Venue is proper in this District pursuant to 28 U.S.C. § 1391 because defendants are

found or are inhabitants or transact business in this District.

                                             THE PARTIES

        9.       Plaintiff is, and has been at all times relevant hereto, a stockholder of Mandiant.


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         10.      Defendant Mandiant is a Delaware corporation with its principal executive offices

located at 11951 Freedom Drive, 6th Floor, Reston, Virginia 20190. Mandiant’s shares trade on the

Nasdaq Global Select Market under the ticker symbol “MNDT.”

         11.      Defendant Kimberly Alexy is and has been a director of the Company at all relevant

times.

         12.      Defendant Sara Andrews is and has been a director of the Company at all relevant

times.

         13.      Defendant Ronald E. F. Codd is and has been a director of the Company at all relevant

times.

         14.      Defendant Arthur W. Coviello, Jr. is and has been a director of the Company at all

relevant times.

         15.      Defendant Kevin Mandia (“Mandia”) has been Chief Executive Officer and a director

of the Company at all relevant times.

         16.      Defendant Adrian McDermott is and has been a director of the Company at all relevant

times.

         17.      Defendant Viral Patel is and has been a director of the Company at all relevant times.

         18.      Defendant Enrique Salem has been Chairman of the Board and a director of the

Company at all relevant times.

         19.      Defendant Robert Switz is and has been a director of the Company at all relevant times.

         20.      Defendants identified in paragraphs 11-19 are referred to herein as the “Board” or the

“Individual Defendants.”




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                               SUBSTANTIVE ALLEGATIONS

The Proposed Transaction

      21.    On March 8, 2022, Mandiant announced in relevant part:

      RESTON, Va.--Mandiant, Inc. (NASDAQ: MNDT) today announced that it has
      entered into a definitive agreement to be acquired by Google LLC for $23.00 per share
      in an all-cash transaction valued at approximately $5.4 billion, inclusive of Mandiant’s
      net cash. The offer price represents a 57% premium to the undisturbed 10-day trailing
      volume weighted average price as of February 7, 2022, the last full trading day prior
      to published market speculation regarding a potential sale of the Company. Upon the
      close of the acquisition, Mandiant will join Google Cloud.

      For the past 18 years, Mandiant has delivered unparalleled frontline expertise and
      industry-leading threat intelligence. Mandiant’s more than 600 consultants currently
      respond to thousands of security breaches each year. Paired with research from more
      than 300 intelligence analysts, these resulting insights are what power Mandiant’s
      dynamic cyber defense solutions – delivered through the managed multi-vendor XDR
      platform, Mandiant Advantage.

      Google Cloud has made security the cornerstone of its commitment to customers and
      users around the world – building cloud-native security into the foundation of its
      technology to block malware, phishing attempts and potential cyber attacks at scale.
      The Mandiant acquisition underscores Google Cloud’s commitment to advancing its
      security offerings to better protect and advise customers across their on-premise and
      cloud environments.

      The acquisition will complement Google Cloud’s existing strengths in security.
      Together with Mandiant, Google Cloud will deliver an end-to-end security operations
      suite with even greater capabilities as well as advisory services helping customers
      address critical security challenges and stay protected at every stage of the security
      lifecycle.

      “Cyber security is a mission, and we believe it’s one of the most important of our
      generation. Google Cloud shares our mission-driven culture to bring security to every
      organization,” said Kevin Mandia, CEO, Mandiant. “Together, we will deliver our
      expertise and intelligence at scale via the Mandiant Advantage SaaS platform, as part
      of the Google Cloud security portfolio. These efforts will help organizations to
      effectively, efficiently and continuously manage and configure their complex mix of
      security products.”

      “The Mandiant brand is synonymous with unmatched insights for organizations
      seeking to keep themselves secure in a constantly changing environment,” said
      Thomas Kurian, CEO, Google Cloud. “This is an opportunity to deliver an end-to-
      end security operations suite and extend one of the best consulting organizations in the
      world. Together we can make a profound impact in securing the cloud, accelerating
      the adoption of cloud computing, and ultimately make the world safer.”

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       The acquisition is subject to customary closing conditions, including the receipt of
       Mandiant stockholder and regulatory approvals, and is expected to close later this year.
       Goldman Sachs & Co. LLC is acting as exclusive financial advisor, and Wilson
       Sonsini Goodrich & Rosati P.C. is acting as legal advisor to Mandiant. For more
       information, please see Google’s press release.

The Proxy Statement Contains Material Misstatements or Omissions

       22.    Defendants filed a materially incomplete and misleading Proxy Statement with the

SEC and disseminated it to Mandiant’s stockholders. The Proxy Statement misrepresents or omits

material information necessary for the Company’s stockholders to make an informed voting or

appraisal decision on the Proposed Transaction.

       23.    Specifically, as set forth below, the Proxy Statement fails to provide Company

stockholders with material information or provides them with materially misleading information

concerning: (a) the Company’s financial projections and the financial analyses that support the

fairness opinion provided by the Company’s financial advisor, Goldman Sachs & Co. LLC

(“Goldman”); and (b) potential conflicts of interest faced by Company insiders.

Material Omissions Concerning the Company’s Financial Forecasts and the Financial Analyses
Relied on by the Board

       24.    The Proxy Statement omits material information regarding the financial forecasts for

the Company including the projections reviewed by the Board at its January 11, 2022 meeting. See

Proxy Statement at 40.

       25.    The Proxy Statement omits material information regarding the data and inputs

underlying the valuation analyses performed by Goldman.

       26.    The Proxy Statement describes Goldman’s fairness opinion and the various underlying

valuation analyses. Those descriptions, however, omits key inputs and assumptions forming the bases

of these analyses.   The absence of this material information precludes the Company’s public

stockholders from fully understanding Goldman’s work. As a result, Mandiant stockholders cannot


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assess what significance to place on Goldman’s fairness opinion in determining whether to approve

the Proposed Transaction or otherwise act.

       27.     With respect to the Illustrative Discounted Cash Flow Analysis performed by

Goldman, the Proxy Statement fails to disclose: (a) the terminal year estimate of the free cash flow

of Mandiant; (b) the range of terminal values for Mandiant; (c) the inputs and assumptions underlying

the range of discount rates Goldman utilized in connection with the analysis; (d) the Company’s net

operating losses; and (e) Mandiant’s net debt as of December 31, 2021.

       28.     With respect to the Illustrative Present Value of Future Share Price Analysis

performed by Goldman, the Proxy Statement fails to disclose: (a) Mandiant’s forecasted net debt as

of December 31 for each of fiscal years 2022 to 2024; (b) the projected year-end fully diluted shares

of Company common stock for each of fiscal years 2022 to 2024; and (c) the inputs and assumptions

underlying the discount rate Goldman utilized in connection with the analysis.

       29.     The omission of this information renders the statements in the “Projected Financial

Information” and “Opinion of Goldman Sachs & Co. LLC” sections of the Proxy Statement false

and/or materially misleading in contravention of the Exchange Act. Indeed, when a banker’s

endorsement of the fairness of a transaction is touted to shareholders, the valuation methods used to

arrive at that opinion as well as the key inputs and range of ultimate values generated by those analyses

must also be fairly disclosed.

Material Omissions Concerning Potential Conflicts

       30.     The Proxy Statement also fails to disclose material information concerning potential

conflicts and the background of the Proposed Transaction, including whether Google’s proposals or

indications of interest mentioned management retention or director participation in the combined

company following the Proposed Transaction or the purchase of or participation in the equity of the

surviving corporation.


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       31.     The Proxy Statement further fails to disclose when defendant Mandia, and any other

member of Company management, first learned of the opportunity for a role with the post-closing

company.

       32.     The omission of this information renders the statements in the “Background of the

Merger” and “Interests of Mandiant’s Directors and Executive Officers in the Merger” sections of the

Proxy Statement false and/or materially misleading in contravention of the Exchange Act.

       33.     The Individual Defendants were aware of their duty to disclose the above-referenced

omitted information and acted negligently (if not deliberately) in failing to include this information

in the Proxy Statement. Absent disclosure of the foregoing material information prior to the

stockholder vote on the Proposed Transaction, Plaintiff and the other Mandiant stockholders will be

unable to make an informed voting or appraisal decision on the Proposed Transaction and are thus

threatened with irreparable harm warranting the injunctive relief sought herein.

                                      CLAIMS FOR RELIEF

                                              COUNT I

    Claims for Violation of Section 14(a) of the Exchange Act and Rule 14a-9 Promulgated
                Thereunder Against the Individual Defendants and Mandiant

       34.     Plaintiff repeats and realleges the preceding allegations as if fully set forth herein.

       35.     The Individual Defendants disseminated the false and misleading Proxy Statement,

which contained statements that, in light of the circumstances under which they were made, omitted

to state material facts necessary to make the statements therein not materially misleading, in violation

of Section 14(a) of the Exchange Act and Rule 14a-9. Mandiant is liable as the issuer of these

statements.

       36.     The Proxy Statement was prepared, reviewed, and/or disseminated by the Individual

Defendants. By virtue of their positions within the Company, the Individual Defendants were aware

of this information and their duty to disclose this information in the Proxy Statement.\

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       37.     The Individual Defendants were at least negligent in filing the Proxy Statement with

these materially false and misleading statements.

       38.     The omissions and false and misleading statements in the Proxy Statement are material

in that a reasonable stockholder will consider them important in deciding how to vote on the Proposed

Transaction. In addition, a reasonable investor will view a full and accurate disclosure as significantly

altering the total mix of information made available in the Proxy Statement and in other information

reasonably available to stockholders.

       39.     The Proxy Statement is an essential link in causing Plaintiff and the Company’s

stockholders to approve the Proposed Transaction.

       40.     By reason of the foregoing, defendants violated Section 14(a) of the Exchange Act and

Rule 14a-9 promulgated thereunder.

       41.     Because of the false and misleading statements in the Proxy Statement, Plaintiff is

threatened with irreparable harm.

                                               COUNT II

                          Claims Against the Individual Defendants for
                          Violation of Section 20(a) of the Exchange Act

       2.      Plaintiff repeats all previous allegations as if set forth in full.

       3.      The Individual Defendants acted as controlling persons of Mandiant within the

meaning of Section 20(a) of the Exchange Act as alleged herein. By virtue of their positions as

officers or directors of Mandiant and participation in or awareness of the Company’s operations or

intimate knowledge of the false statements contained in the Proxy Statement filed with the SEC, they

had the power to influence and control and did influence and control, directly or indirectly, the

decision-making of the Company, including the content and dissemination of the various statements

which Plaintiff contends are false and misleading.



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       4.      Each of the Individual Defendants was provided with or had unlimited access to copies

of the Proxy Statement and other statements alleged by Plaintiff to be misleading prior to or shortly

after these statements were issued and had the ability to prevent the issuance of the statements or

cause the statements to be corrected.

       5.      In particular, each of the Individual Defendants had direct and supervisory

involvement in the day-to-day operations of the Company, and, therefore, is presumed to have had

the power to control or influence the particular transactions giving rise to the securities violations as

alleged herein, and exercised the same. The Proxy Statement -9 at issue contains the unanimous

Proxy of each of the Individual Defendants to approve the Proposed Transaction. They were, thus,

directly involved in the making of this document.

       6.      In addition, as the Proxy Statement sets forth at length, and as described herein, the

Individual Defendants were each involved in negotiating, reviewing, and approving the Proposed

Transaction. The Proxy Statement purports to describe the various issues and information that they

reviewed and considered — descriptions which had input from the Individual Defendants.

       7.      By virtue of the foregoing, the Individual Defendants have violated section 20(a) of

the Exchange Act.

                                        PRAYER FOR RELIEF

       WHEREFORE, Plaintiff demands judgment and preliminary and permanent relief, including

injunctive relief, in his favor on behalf of Mandiant, and against defendants, as follows:

               A.      Preliminarily and permanently enjoining defendants and all persons acting in

concert with them from proceeding with, consummating, or closing the Proposed Transaction and any

vote on the Proposed Transaction, unless and until defendants disclose and disseminate the material

information identified above to Mandiant stockholders;

               B.      In the event defendants consummate the Proposed Transaction, rescinding it


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and setting it aside or awarding rescissory damages to Plaintiff;

                C.     Declaring that defendants violated Sections 14(d), 14(e) and/or 20(a) of the

Exchange Act;

                D.     Awarding Plaintiff the costs of this action, including reasonable allowance for

Plaintiff’s attorneys’ and experts’ fees; and

                E.     Granting such other and further relief as this Court may deem just and proper.

                                          JURY DEMAND

       Plaintiff demands a trial by jury on all claims and issues so triable.

 Dated: May 16, 2022                                   LONG LAW, LLC

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